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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- X                1/25/2021
                                                                       :
GABINO GENAO,                                                          :
                                                                       :
                                    Plaintiff,                         :
                                                                       :      20-cv-2441 (LJL)
                  -v-                                                  :
                                                                       :          ORDER
CITY OF NEW YORK,                                                      :
                                                                       :
                                    Defendant.                         :
                                                                       :
---------------------------------------------------------------------- X

LEWIS J. LIMAN, United States District Judge:

        Parties are directed to appear for a telephonic initial conference on February 23, 2021 at
10:00 a.m. Parties are directed to dial 888-251-2909 and use access code 2123101. Parties are
relieved from the need to prepare a case management plan but should be prepared to discuss
whether discovery should be stayed pending a decision on a motion to dismiss or, alternatively, a
schedule for discovery.

        The Clerk of Court is respectfully directed to mail a copy of this order to Plaintiff.

        SO ORDERED.


Dated: January 25, 2021                                    __________________________________
       New York, New York                                             LEWIS J. LIMAN
                                                                  United States District Judge
